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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 M. H.
 a minor child, by and through his
 mother and legal guardian, et al.,
      Plaintiffs,
             v.                                CIVIL ACTION FILE
                                               NO. 1:15-CV-1427-TWT
 FRANK BERRY
 in his official capacity as
 Commissioner of the Department of
 Community Health,
      Defendant.


                                     OPINION AND ORDER


         This is an action seeking injunctive and declaratory relief against the Georgia

Department of Community Health. It is before the Court on the Plaintiff’s Motion for

Class Certification [Doc. 62]. For the reasons set forth below, the Court GRANTS the

Plaintiff’s Motion for Class Certification [Doc. 62].

                                        I. Background

         When the Class Action Complaint was filed, the Plaintiff M.H. was a thirteen-

year-old Medicaid beneficiary.1 The Plaintiff suffered a catastrophic brain injury as


         1
                   Compl. ¶ 1.
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a toddler, resulting in a number of neurological conditions including static

encephalopathy, cerebral palsy, spastic quadriplegia, and seizure disorder.2 Under the

Early and Periodic Screening, Diagnostic, and Treatment (“EPSDT”) provisions of the

Medicaid Act, Georgia is required to provide eligible children with “medically

necessary” health care services.3 “Medically necessary” means all services or

treatments provided by the Medicaid Act that will “correct or ameliorate” any physical

and mental illnesses and conditions.4 One such service is in-home skilled nursing care,

which the Georgia Pediatric Program (“GAPP”) provides to eligible children.5 The

Plaintiff participates in the GAPP.6

         The Defendant Frank Berry is the Commissioner of Georgia’s Department of

Community Health (“DCH”), which administers the Medicaid program in Georgia.7

The Georgia Medical Care Foundation, Inc. (“GMCF”) is a non-profit corporation

that, through a contractual relationship with DCH, reviews and decides all requests for



         2
                   Id.
         3
                   Id. ¶ 5.
         4
                   42 U.S.C. § 1396d(r)(5).
         5
                   Compl. ¶¶ 2, 60.
         6
                   Id. ¶ 2.
         7
                   See [Doc. 78].
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nursing care made on behalf of Medicaid-eligible children in Georgia.8 When

determining whether to grant a request for nursing services, GMCF must adhere to the

medically necessary standard discussed above and must consider the treating

physician’s opinion of what is medically necessary for his or her patient.9

         The Plaintiff currently receives eighteen hours per day of in-home skilled

nursing care through the GAPP.10 On April 1, 2015, GMCF notified the Plaintiff’s

adoptive mother, Thelma Lynah, that the Plaintiff was being placed on a “weaning

schedule” that would incrementally reduce his in-home nursing hours from eighteen

hours per day to twelve hours per day over an eight week period.11 According to the

Complaint, this weaning schedule contradicts the Plaintiff’s treating physician’s

recommendation of eighteen hours per day of in-home skilled nursing care.12 On April




         8
                   Compl. ¶ 63.
         9
             Moore ex rel. Moore v. Reese, 637 F.3d 1220, 1255 (11th Cir. 2011)
(holding that “[a] state may adopt a definition of medical necessity that places limits
on a physician’s discretion,” but “[b]oth the treating physician and the state have roles
to play”).
         10
                   Compl. ¶ 74.
         11
                   Id. ¶ 75.
         12
                   Id. ¶ 110.
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29, 2015, M.H. sued Clyde L. Reese, III13 under 42 U.S.C. § 1983, alleging that the

Defendant violated his rights under the EPSDT provisions of the Medicaid Act.14 The

Plaintiff seeks declaratory and injunctive relief on behalf of himself and similarly

situated individuals to enjoin the Defendant from violating the Medicaid Act by

denying him and others medically necessary services.15 On July 6, 2015, the Court

granted the Plaintiff preliminary injunctive relief and enjoined Reese from reducing

the skilled nursing care hours provided to the Plaintiff below eighteen hours per day.16

         The Plaintiff now files a Motion to Certify a Rule 23(b)(2) class of “all

Medicaid-eligible individuals under the age of 21 who are now, or will in the future

be, [participants] in the GAPP program and are subject to the policies and practices

of Defendant.”17 The Plaintiff’s class action focuses on the following policies or


         13
          When the Plaintiff filed his Complaint, Clyde L. Reese, III was the
Commissioner of the Georgia Department of Community Health.
         14
              [Doc. 1]. It should be noted that this is not the Plaintiff’s first lawsuit
against the DCH Commissioner. In 2008, M.H. brought a similar complaint, alleging
that DCH failed to provide all medically necessary nursing hours. The Plaintiff also
sought class certification. This Court denied the Plaintiff’s request for class
certification, holding that the Plaintiff failed to demonstrate numerosity. See Hunter
v. Cook, No. 1:08-cv-2930-TWT, 2012 WL 12831938, at *3-5 (N.D. Ga. Aug. 2,
2012).
         15
                   Compl. ¶ 8.
         16
                   [Doc. 13].
         17
                   Mot. for Class Cert., at 21.
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practices that he alleges fail to conform to the EPSDT provisions: (1) GMCF’s alleged

failure to accord the treating doctor’s recommendation the appropriate weight when

determining a member’s nursing hours; (2) GMCF improperly assumes that the

primary caregivers can be taught all skilled nursing needs in order to wean class

members off the program; and (3) GMCF’s alleged failure to consider the capacity of

the class members’ primary caregivers when determining how many nursing hours are

appropriate.18 The Defendant contends that the proposed class does not comply with

Federal Rule of Civil Procedure 23.

                                     II. Class Certification Standard

         To maintain a case as a class action, the party seeking class certification must

satisfy each of the prerequisites of Rule 23(a) and at least one of the provisions of




         18
             Id. at 4. The Court notes that two other policies are listed in the Plaintiff’s
Motion. Specifically, the Plaintiff alleges that the Defendant “fails to take into account
requirements of the Georgia Nurse Practice Act,” and that the Defendant “gives notice
to caregivers . . . of the reasons for GMCF’s decisions to reduce hours only in
conclusory final letters of notification.” Id. However, the Plaintiff does not mention
the Georgia Nurse Practice Act policy in his Reply Brief, and the Court already
dismissed the Plaintiff’s claim regarding the final letters. As a result, the Court will
not consider those policies or practices for purposes of class certification.
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Rule 23(b).19 Rule 23(a) sets forth the four prerequisites to maintain any claim as a

class action:

         One or more members of a class may sue or be sued as representative
         parties on behalf of all members only if: (1) the class is so numerous that
         joinder of all members is impracticable; (2) there are questions of law or
         fact common to the class; (3) the claims or defenses of the representative
         parties are typical of the claims or defenses of the class; and (4) the
         representative parties will fairly and adequately protect the interests of
         the class.20

These prerequisites are commonly referred to as: (1) numerosity, (2) commonality, (3)

typicality, and (4) adequacy of representation.21 Failure to establish any one of the

four factors precludes certification. In addition, under Rule 23(b), the individual

plaintiffs must convince the Court that: (1) prosecuting separate actions by or against

individual members of the class would create a risk of prejudice to the party opposing

the class or to those members of the class not parties to the subject litigation; (2) the

party opposing the class has refused to act on grounds that apply generally to the class,

necessitating final injunctive or declaratory relief; or (3) questions of law or fact


         19
             Klay v. Humana, Inc., 382 F.3d 1241, 1250 (11th Cir. 2004), abrogated
in part on other grounds by Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639
(2008)).
         20
                   FED. R. CIV. P. 23(a).
         21
             Cooper v. Southern Co., 390 F.3d 695, 711 n.6 (11th Cir. 2004),
overruled in part on other grounds by Ash v. Tyson Foods, Inc., 546 U.S. 454, 457-58
(2006).
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common to the members of the class predominate over any questions affecting only

individual members and that a class action is superior to other available methods for

fair and efficient adjudication of the controversy.22           The party seeking class

certification bears the burden of proving that these requirements are satisfied.23

         The decision to grant or deny class certification lies within the sound discretion

of the district court.24 When considering the propriety of class certification, the court

should not conduct a detailed evaluation of the merits of the suit.25 Nevertheless, the

court must perform a “rigorous analysis” of the particular facts and arguments asserted

in support of class certification.26 Frequently, that “rigorous analysis” will entail some

overlap with the merits of the plaintiff’s underlying claim.27




         22
                   FED. R. CIV. P. 23(b).
         23
            General Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 161 (1982); Valley
Drug Co. v. Geneva Pharms., Inc., 350 F.3d 1181, 1187 (11th Cir. 2003).
         24
            Klay, 382 F.3d at 1251; Armstrong v. Martin Marietta Corp., 138 F.3d
1374, 1386 (11th Cir. 1998) (en banc).
         25
                   Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 177-78 (1974).
         26
                   Falcon, 457 U.S. at 161; Gilchrist v. Bolger, 733 F.2d 1551, 1555 (11th
Cir. 1984).
         27
                   Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 351-52 (2011).
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                                        III. Discussion

         A. Rule 23(a)

         To warrant class certification, the Plaintiff must satisfy all four requirements

under Rule 23(a) and at least one of the requirements of Rule 23(b). Rule 23(a)

provides that:

         One or more members of a class may sue . . . on behalf of all members
         only if: (1) the class is so numerous that joinder of all members is
         impracticable; (2) there are questions of law or fact common to the class;
         (3) the claims or defenses of the representative parties are typical of the
         claims or defenses of the class; and (4) the representative parties will
         fairly and adequately protect the interests of the class.28

These requirements are referred to as “numerosity,” “commonality,” “typicality,” and

“adequacy.” And although not explicitly stated in Rule 23, it is well accepted that

“[b]efore a district court may grant a motion for class certification, a plaintiff . . . must

establish that the proposed class is adequately defined and clearly ascertainable.”29

This requirement is referred to as ascertainability.




         28
                   FED. R. CIV. P. 23(a).
         29
            Little v. T-Mobile USA, Inc., 691 F.3d 1302, 1304 (11th Cir. 2012)
(quoting DeBremaecker v. Short, 433 F.2d 733, 734 (5th Cir. 1970)); see also
Sanchez-Knutson v. Ford Motor Co., 310 F.R.D. 529, 534 (S.D. Fla. 2015) (“The
court may address the adequacy of the class definition before analyzing whether the
proposed class meets the Rule 23 requirements.”).
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                   1. Ascertainability

         The Defendant challenges whether the putative class is ascertainable. “An

identifiable class exists if its members can be ascertained by reference to objective

criteria.”30 The analysis of the objective criteria must be administratively feasible,

meaning identifying class members is a “manageable process that does not require

much, if any, individual inquiry.”31 Here, the Court finds that the proposed class is

ascertainable. The class includes all current and future GAPP program members. The

members can be ascertained through a review of DCH’s and GMCF’s records. The

Defendant counters that “[t]he only way one can be part of this class is if the member

is not receiving all medically necessary hours.”32 And, according to the Defendant,

because an inquiry into whether each putative class member is receiving all medically

necessary hours is very fact specific, the putative class members cannot be ascertained

through a manageable process. However, a GAPP participant can still be a class

member without having his or her hours reduced. Indeed, every GAPP participant is




         30
            Bussey v. Macon Cnty. Greyhound Park, Inc., 562 F. App’x 782, 787
(11th Cir. 2014) (quoting Fogarazzo v. Lehman Bros., Inc., 263 F.R.D. 90, 97
(S.D.N.Y. 2009)).
         31
                   Id. (quoting NEWBERG ON CLASS ACTIONS § 3.3 (5th ed.)).
         32
                   Def.’s Resp. Br., at 19.
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subject to the policies and practices the Plaintiff is challenging. Thus, the Court finds

that the class is ascertainable.

                   2. Numerosity

         To satisfy the numerosity requirement, the Plaintiff must show that joinder of

all members of the putative class would be “impractical.”33 “Practicability of joinder

depends on many factors, including, for example, the size of the class, ease of

identifying its numbers and determining their addresses, facility of making service on

them if joined and their geographic dispersion.”34 “[W]hile there is no fixed

numerosity rule, generally less than twenty-one is inadequate, more than forty

adequate, with numbers between varying according to other factors.”35 Further,

“[w]hen the exact number of class members cannot be ascertained, the court may

make ‘common sense assumption’ to support a finding of numerosity.”36 Nevertheless,

“a plaintiff still bears the burden of making some showing, affording the district court




         33
                   FED. R. CIV. P. 23 (a)(1).
         34
                   Kilgo v. Bowman Transp., Inc., 789 F.2d 859, 878 (11th Cir. 1986).
         35
                   Cox v. American Cast Iron Pipe Co., 784 F.2d 1546, 1553 (11th Cir.
1986).
         36
             Susan J. v. Riley, 254 F.R.D. 439, 458 (M.D. Ala. 2008) (quoting Evans
v. U.S. Pipe & Foundry Co., 696 F.2d 925, 930 (11th Cir. 1983)).
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the means to make a supported factual finding, that the class actually certified meets

the numerosity requirement.”37

         The Plaintiff contends that there are approximately 763 putative class

members.38 This approximation is based on the testimony of GAPP Program Specialist

Sharon Collins who estimated that there are 763 members in GAPP’s “in-home skilled

nursing services.”39 Thus, according to the Plaintiff, the proposed class easily satisfies

the numerosity requirement. In response, the Defendant – citing Hunter v. Cook –

argues that the Plaintiff must demonstrate “how often the Defendant reduced or

eliminated[] benefits, along with the total number of individuals in the GAPP

program.”40 But the Defendant’s argument is not responsive to the Plaintiff’s class

definition here. The class definition includes all GAPP members, not just the members

whose benefits have been reduced or eliminated. By contrast, in Hunter v. Cook, the

class definition was more narrow: “only those [members] whose benefits [had] been

reduced, delayed, or denied due to GAPP policies.”41 The Plaintiff therefore has


         37
                   Vega v. T-Mobile USA, Inc., 564 F.3d 1256, 1267 (11th Cir. 2009).
         38
                   Pl.’s Reply Br., at 3.
         39
                   Collins 2016 Dep., at 43.
         40
          Def.’s Resp. Br., at 17 (quoting Hunter v. Cook, No. 1:08-cv-2930-TWT,
2012 WL 12831938, at *4 n.3 (N.D. Ga. Aug. 2, 2012)).
         41
                   Hunter, 2012 WL 12831938, at *2.
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presented sufficient evidence for numerosity. Even if the Plaintiff was required to

submit evidence regarding the number of members whose benefits had been reduced

or denied, the Plaintiff has put forth detailed evidence of at least 50 GAPP members

whose nursing hours have been reduced since 2015.42 This is a sufficient number of

putative class members for numerosity.

                   3. Commonality

         The commonality requirement is satisfied if the named plaintiff demonstrates

the presence of questions of law or fact common to the entire class.43 Before the

Supreme Court’s decision in Wal-Mart v. Dukes, the issue of commonality was rarely

in dispute. However, Wal-Mart “defined ‘common question’ with more specificity

than it had in prior decisions while reiterating the importance of . . . centrality.”44

Specifically, the Supreme Court held that a common question is one that is “of such

a nature that it is capable of classwide resolution – which means that determination

of its truth or falsity will resolve an issue that is central to the validity of each one of

the claims in one stroke.”45 It is not necessary that all questions of law and fact be



         42
                   See Norris Decl., Exs. 2-3.
         43
                   FED. R. CIV. P. 23 (a)(2).
         44
                   NEWBERG ON CLASS ACTIONS § 3:18 (5th ed.).
         45
                   Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011).
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common.46 Indeed, “[e]ven a single [common] question” is sufficient to satisfy the

commonality requirement.47 Nevertheless, commonality “does not mean merely that

they have all suffered a violation of the same provision of law.”48 “Commonality

requires the plaintiff to demonstrate that the class members ‘have suffered the same

injury.’”49

         One method of bridging the “gap” between individual harms and a common

injury is to allege a uniform policy or practice by the defendant that affects all putative

class members.50 In Wal-Mart, the putative class, which consisted of 1.5 million

women who were current or former Wal-Mart employees, alleged that “the discretion

exercised by their local supervisors over pay and promotion matters violate[d] Title

VII by discriminating against women.”51 The Supreme Court, however, ruled that


         46
                   Id. at 359.
         47
            Id. (alteration in original) (quoting Richard A. Nagareda, The
Preexistence Principle and the Structure of the Class Action, 103 COLUM. L. REV.
149, 176 n.110 (2003)).
         48
                   Id. at 350.
         49
                   Id. at 349-50 (quoting General Tel. Co. of Sw. v. Falcon, 457 U.S. 147,
157 (1982)).
         50
             Id. at 352-53 (quoting Falcon, 457 U.S. at 157-58); see also Holmes v.
Godinez, 311 F.R.D. 177, 217 (N.D. Ill. 2015) (“A single system-wide illegal practice
or policy can satisfy the commonality requirement.”).
         51
                   Wal-Mart, 564 U.S. at 342.
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Wal-Mart’s “‘policy’ of allowing discretion by local supervisors” was not a common

policy or practice that could satisfy the commonality requirement.52 Rather, “it is a

policy against having uniform employment practices.”53 “Without some glue holding

the alleged reasons for all those decisions together, it will be impossible to say that

examination of all the class members’ claims for relief will produce a common answer

to the crucial question why was I disfavored.”54

         Here, the Defendant argues that, like the class claims in Wal-Mart, the

Plaintiff’s claims challenging hundreds of individual decisions regarding the reduction

of nursing hours do not create a common question. But even if determining the

appropriate amount of nursing hours necessitates individualized inquiries down the

road, common questions regarding whether the GAPP’s higher level policies and




         52
                   Id. at 355.
         53
                   Id.
         54
                   Id. at 352.
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practices violate the Medicaid Act may satisfy commonality.55 As a result, the Court

now turns to the Plaintiff’s proposed common questions.

         In his Motion for Class Certification, the Plaintiff asserts the following

overarching common question: “whether the current administration of the GAPP

program by DCH and GMCF violates the Medicaid Act.”56 This broad question gives

the Court pause. It bears resemblance to the type of generalized question the Supreme

Court warned against in Wal-Mart – a question which simply asks whether the class

members all “suffered a violation of the same provision of law.”57 But the Plaintiff has

set forth the specific policies or practices he is challenging. As the Court noted above,

he challenges the following purported policies and practices: (1) GMCF’s weaning

policy; (2) GMCF’s failure to consider the primary caretaker’s capacity; and (3)

GMCF’s failure to “accord the treating physician’s recommendation the appropriate


         55
              See Thorpe v. District of Columbia, 303 F.R.D. 120, 146 (D.D.C. 2014)
(holding that commonality existed where the plaintiffs’ claims raised several common
questions, including “(1) are there deficiencies in the District’s existing system of
transition assistance? (2) if so, what are those deficiencies? and (3) are the proven
deficiencies causing unnecessary segregation?”); Lane v. Kitzhaber, 283 F.R.D. 587,
597 (D. Or. 2012) (“despite the individual dissimilarities among class members,
‘commonality is satisfied where the lawsuit challenges a system-wide practice or
policy that affects all the putative class members’” (quoting Armstrong v. Davis, 275
F.3d 849, 868 (9th Cir. 2001))).
         56
                   Mot. for Class Cert., at 25.
         57
                   Wal-Mart, 564 U.S. at 350.
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weight.”58 To prove these policies or practices exist, the Plaintiff has put forth various

evidence. For example, to demonstrate that the GMCF operates a weaning policy, the

Plaintiff points to the GAPP’s official “Policies and Procedures,” which state that the

primary caregiver is expected to assume “some” responsibility for performing skilled

nursing tasks.59 The Plaintiff then cites testimony from a GMCF employee who

testified that, when a weaning schedule is put in place, “it’s getting the family used

to they’re going to be assuming more care of their child and picking up more of the

nursing care of their child.”60 Moreover, a GMCF representative testified that DCH

does not permit GMCF to take into account the primary caregiver’s outside

obligations, such as work and other dependents, when determining a GAPP member’s

nursing hours.61 The Defendant admits that all GAPP policies are applicable to every

member of the GAPP program.62 Thus, if the Plaintiff proves that these policies and

practices exist and are in violation of the Medicaid Act, then each class member will

have suffered the same harm.



         58
                   Pl.’s Reply Br., at 6-9.
         59
                   Mot. for Class Cert., Ex. A, §§ 702.1(B)-(D).
         60
                   Carey Dep., at 29-30.
         61
                   Collins 2016 Dep., at 72.
         62
                   Def.’s Resp. Br., at 2.
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         This case is analogous to P.V. ex rel. Valentin v. School District of

Philadelphia. There, a group of autistic students in the Philadelphia School District

challenged the legality of the District’s “up-leveling” policy, which resulted in autistic

students automatically transferring from one school to another with little input from

the autistic students’ parents.63 The plaintiffs alleged that the policy violated, inter

alia, the Individual and Disabilities Act because it occurred with little or no parental

notice or involvement and did not consider the children’s individual circumstances.64

As a result, the plaintiffs sought to certify a (b)(2) class of all autistic students in the

Philadelphia School District “who have been transferred, are in the process of being

transferred, or are subject to being transferred pursuant to the School District’s upper-

leveling policy.”65 The School District contended that, in order for the plaintiffs to

prevail, they would have to present “individualized proof of how each class member

was affected by the . . . ‘policy.’”66 Thus, according to the School District

commonality could not be met.




         63
                   289 F.R.D. 227, 228 (E.D. Pa. 2013).
         64
                   Id. at 231.
         65
                   Id.
         66
                   Id. at 233.
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         The district court disagreed with the School District. It noted that the School

District’s argument failed to recognize that the “Plaintiffs’ Complaint alleges a

systemic failure, not a failure of the policy as applied to each member individually.”67

The district court found that common questions of law or fact included “whether the

School District upper-levels autistic students without meaningful parental

involvement, . . . [and] whether the School District considers the individual needs of

autistic students prior to deciding where to upper-level that student.”68 Like the autistic

students in P.V., the Plaintiff here challenges broad policies and practices that apply

to each member of the GAPP. Common questions of law or fact that are susceptible

to common answers are present. For example, whether the GMCF operates a weaning

policy, and whether such a program is in violation of the Medicaid Act, are central

questions to the Plaintiff’s and class members’ claims. The Plaintiff, therefore, has

satisfied the commonality requirement.

                   4. Typicality

         The typicality requirement mandates that the claims and defenses of the

representative plaintiffs are typical of the claims and defenses of the class.69 This


         67
                   Id. at 234.
         68
                   Id.
         69
                   FED. R. CIV. P. 23(a)(3).
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requirement is satisfied when “a plaintiff’s injury arises from or is directly related to

a wrong to a class, and that wrong includes the wrong to the plaintiff.”70 But “[c]lass

members’ claims need not be identical to satisfy the typicality requirement.”71 This is

because “typicality measures whether a sufficient nexus exists between the claims of

the named representatives and those of the class at large.”72 “A sufficient nexus is

established if the claims or defenses of the class and the class representative arise from

the same event or pattern or practice and are based on the same legal theory.”73

         Here, the named Plaintiff and the putative class members are all Georgia

residents who receive EPSDT services through the GAPP; moreover, all of them are

subject to the GMCF’s policies and practices that allegedly result in improper denials,

delays, reductions, or terminations of EPDST services. They seek an injunctive relief

to remedy the alleged harm caused by the Defendant’s practices and policies. As a

result, the Court finds that the typicality requirement is met. In response, the

Defendant argues that the named Plaintiff is atypical, because he is seeking “personal

         70
            Andrews v. American Tel. & Tel. Co., 95 F.3d 1014, 1022 (11th Cir.
1996), abrogated on other grounds by Bridge v. Phoenix Bond & Indem. Co., 553
U.S. 639, 641 (2008).
         71
                   Ault v. Walt Disney World Co., 692 F.3d 1212, 1216 (11th Cir. 2012).
         72
           Cooper v. Southern Co., 390 F.3d 695, 713 (11th Cir. 2004) (quoting
Prado-Steiman v. Bush, 221 F.3d 1266, 1279 (11th Cir. 2000)).
         73
                   Kornberg v. Carnival Cruise Lines, Inc., 741 F.2d 1332 (11th Cir. 1984).
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support services” in addition to nursing care services.74 But, according to the Plaintiff,

he is not seeking class treatment for his personal support services claim.75 And, of

course, under Rule 23(c)(4), the Court has the power to allow class treatment for only

certain issues.76 As a result, the class claims are limited to those regarding nursing

services. The Defendant then argues that because an individualized inquiry is required

to determine the medically necessary amount of nursing hours for each member,

typicality cannot be met. However, the Defendant’s argument – once again – misses

the point of the Plaintiff’s Motion for Class Certification. The Plaintiff’s class

certification motion is challenging the legality of GMCF’s general policies and

practices, not the legality of those policies and practices as applied to each particular

GAPP member.

                   4. Adequacy of Representation

         To prove adequacy of representation, a plaintiff must demonstrate that the class

representatives “fairly and adequately protect the interests of the class.”77 This

requirement serves to uncover conflicts of interest between named parties and the



         74
                   Def.’s Resp. Br., at 23.
         75
                   Pl.’s Reply Br., at 10.
         76
                   FED. R. CIV. P. 23(c)(4).
         77
                   FED. R. CIV. P. 23(a)(4).
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class they seek to represent.78 A determination of adequacy “encompasses two

separate inquiries: (1) whether any substantial conflicts of interest exist between the

representatives and the class; and (2) whether the representatives will adequately

prosecute the action.”79 Here, the Defendant contends a substantial conflict of interest

exists, because the named Plaintiff is seeking eighteen hours of skilled nursing and six

hours of personal support services. The Defendant reasons that “if the Court accepts

Plaintiff’s M.H.’s premise that the Department must consider the caregiver’s personal

circumstance in allocating hours, it is likely the provision of personal support services

would have some effect on the allocation of hours.”80 The Court disagrees. The

Defendant’s proffered conflict is largely based on speculation. A class member’s

circumstances could mandate that he or she still receive all requested personal support

services hours in addition to nursing services hours. And as the Plaintiff points out,

personal support services cannot be substituted for skilled nursing services.81 Thus,

the Court is unwilling to find a conflict of interest.




         78
                   Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 625 (1997).
         79
                   Valley Drug Co. v. Geneva Pharm., Inc., 350 F.3d 1181, 1189 (11th Cir.
2003).
         80
                   Def.’s Resp. Br., at 25.
         81
                   Collins 2016 Dep., at 129-30.
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         Next, the Defendant argues that the Plaintiff has failed to demonstrate that the

class counsel is adequate to represent the putative class. Specifically, the Defendant

argues that merely asserting his lawyers have worked on one prior case involving

medically fragile children is insufficient to prove adequacy. In response, the Plaintiff

has put forth the Declaration of his attorney – John H. Fleming. As stated in the

Declaration, Mr. Fleming has extensive experience working on complex litigation

matters in addition to class actions.82 Mr. Fleming’s co-counsel, Joshua Norris, has

extensive experience advocating for medically necessary services for children,

including litigating multiple cases on behalf of GAPP members.83 Furthermore,

counsel is pursuing the matter on a pro-bono basis and have agreed to advance

litigation costs.84 As a result, the Court finds that the Plaintiff’s counsel is adequate.

         B. Rule 23(b)(2)

         Finally, the Plaintiff must demonstrate that class treatment is appropriate

pursuant to Rule 23(b)(2). Certification of a class seeking injunctive relief is

appropriate where “the party opposing the class has acted or refused to act on grounds

that apply generally to the class, so that final injunctive relief or corresponding


         82
                   Fleming Decl. ¶¶ 4-8.
         83
                   Id. ¶¶ 11-12.
         84
                   Id. ¶ 14.
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declaratory relief is appropriate respecting the class as a whole.”85 The Supreme Court

has given special emphasis to the final clause: “Rule 23(b)(2) applies only when a

single injunction or declaratory judgment would provide relief to each member of the

class. It does not authorize class certification when each individual class member

would be entitled to a different injunction or declaratory judgment against the

defendant.”86

         Here, the Defendant argues that because the Plaintiff is claiming that DCH fails

to provide all medically necessary skilled nursing hours, a single injunction or

declaratory judgment would not provide relief to the whole class. The Defendant

emphasizes that “whether the Department provides all medically necessary hours is

a fact specific inquiry.”87 To be sure, the issue of whether a specific GAPP member

is receiving all medically necessary hours is an individualized inquiry. But the

Plaintiff is not seeking an individualized review of each GAPP member’s nursing

hours as injunctive relief. Rather, he seeks injunctive or declaratory relief that certain




         85
                   FED. R. CIV. P. 23(b)(2).
         86
                   Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360-61 (2011).
         87
                   Def.’s Resp. Br., at 27.

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GMCF policies and practices are unlawful. “By their very nature such policy changes

are generally applicable, and therefore would benefit all class members.”88

         This case is distinguishable from cases where the court denied certification

because the plaintiffs sought, for instance, a court-created panel to determine a

separate injunctive order for each class member. In Jamie S. v. Milwaukee Public

Schools, the plaintiffs – a group of school students with disabilities – sought the

creation of “a court-monitored system to identify disabled children who were delayed

or denied entry into the [individualized education programs] process, implement

‘hybrid’ IEP meetings, and craft compensatory-education remedies.”89 In reversing the

lower court’s order granting certification, the Seventh Circuit found that such an

injunction was not appropriate relief under Rule 23(b)(2). The complex remedial

scheme would “merely initiate a process through which highly individualized

determinations of liability and remedy are made,” making it “class-wide in name

only” and “certainly not . . . final.”90 Unlike the injunctive relief in Jamie S., the

Plaintiff here seeks systemic relief that mandates the Defendant accord greater weight

to the physicians’ recommendations, consider the capacity of the primary caregiver,


         88
                   N.B. v. Hamos, 26 F. Supp. 3d 756, 774 (N.D. Ill. 2014).
         89
                   668 F.3d 481, 485 (7th Cir. 2012).
         90
                   Id. at 499.

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and stop operating the program as a weaning program. As mandated by Wal-Mart, this

class action can be resolved in one stroke with an injunction or declaratory judgment

finding the Defendant’s policies and practices to be in violation of the Medicaid Act.

The Court therefore concludes that the requirements of Rule 23(b)(2) are met.


                                      IV. Conclusion

         For these reasons, the Court GRANTS the Plaintiff’s Motion for Class

Certification [Doc. 62].

         SO ORDERED, this 13 day of June, 2017.



                                     /s/Thomas W. Thrash
                                     THOMAS W. THRASH, JR.
                                     United States District Judge




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